                         Case 22-14766-SMG    Doc 97    Filed 01/05/23    Page 1 of 2




         ORDERED in the Southern District of Florida on January 4, 2023.



                                                       Scott M. Grossman, Judge
_____________________________________________________________________________
                                           United States Bankruptcy Court




                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION

         In re:                                                Case No. 22-14766-SMG

         RALPH LEVI SANDERS, JR.,                              Chapter 13

              Debtor.
         _______________________________/

                     ORDER DENYING MOTION TO STAY PENDING APPEAL

                  This matter came before the Court for a hearing on January 4, 2023, at 10:30

         a.m., 1 to consider Pro Se Debtor Ralph Levi Sanders’ Motion to Stay Pending Appeal. 2

         Mr. Sanders failed to appear at the hearing. For the reasons stated on the record, the

         Motion to Stay Pending Appeal is DENIED both on the merits and for failure to

         prosecute.

                                                  ###




         1 ECF No. 93.
         2 ECF No. 92.
            Case 22-14766-SMG       Doc 97    Filed 01/05/23   Page 2 of 2




Copies Furnished to:
Ralph Levi Sanders, Jr.
561 SW 60 Ave.
Plantation, FL 33317

Robin Weiner, Chapter 7 Trustee

AUST

All other interested parties by the Clerk of Court




                                          2
